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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION
                                (Electronically Filed)

VARINA FALKNER-DOSS,                )
              Plaintiff             )
v.                                  )
                                    )
                                    )             Civil Action No.: 5:18-cv-00083-TBR
M.B.T. TRANSPORT, INC.              )
AND                                 )
PAUL WARZOCHA,                      )
                  Defendants        )
____________________________________)


    NOTICE OF CANCELLATION OF DEPOSITION SUBPOENA DUCES TECUM
       Notice is hereby given that the deposition duces tecum of the Medical Records Custodian

and/or Kelly, TA (Pharmacy Manager) of Walmart Pharmacy, scheduled to take place on August

22nd, 2019, beginning at the hour of 2:00 P.M. E.S.T., has been CANCELLED as the subpoenaed

records were provided.

       This the 21st day of August, 2019.

                                            JUDD, SATTERFIELD & ASSOCIATES, PLLC
                                            869 Broadway Avenue
                                            P.O. Box 51093
                                            Bowling Green, Kentucky 42101
                                            Telephone: (270) 904-4141

                                            /s/Harlan Judd_________________________
                                            Harlan E. Judd, III
                                            Counsel for Defendants
Case 5:18-cv-00083-TBR-LLK Document 75 Filed 08/21/19 Page 2 of 2 PageID #: 434




                               CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served upon the
following by U.S. Mail, on this the 21st day of August, 2019:

VIA EMAIL ONLY:

Walmart Legal Department
Attn: Danni Joslin and Melissa Wilson
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Counsel for Plaintiff

                                            /s/Harlan Judd_________________________
                                            Harlan E. Judd, III
